Case 1:13-bk-16053-MB            Doc 257 Filed 02/04/20 Entered 02/04/20 10:12:49                           Desc
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   1   David Seror
       Trustee in Bankruptcy
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       Woodland Hills, CA 91367
   3
       Telephone: (818) 827-9000
   4

   5                                 UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
   6

   7
                                                               )
   8                                                           ) Chapter 7
                                                               ) Case No: 13-16053 MB
   9                                                           )
  10   In re:                                                  )
                                                               )
  11                                                           )    NOTICE OF UNCLAIMED FUNDS
       GETCHIUS, RONETTE                                       )           (UNDER F.R.B.P. 3011)
  12                                                           )
  13
                                                               )        [NO HEARING REQUIRED]
                         Debtor                                )
  14                                                           )
                                                               )
  15   ___________________________________                     )
  16
                                              NOTICE OF UNCLAIMED FUNDS
  17
       TO THE CLERK, U.S. BANKRUPTCY COURT:
  18            Please find attached hereto check(s) No. 1004 in the sum of $ 50,653.89 representing the total amount of

  19   unclaimed dividend(s) in the above-entitled estate which will create a zero balance in the bank account. Said sum is
       paid over to you pursuant to Bankruptcy Rule 3011. The name(s) and address(es) of the claimants entitled to said
  20
       unclaimed dividend(s) is (are) as follows:
  21
        Claim No                  Name & Address of Claimant                    Amount of Allowed           Amount of
  22                                                                                   Claim                 Dividend
  23   Homestead      Ronette Getchius                                         $ 146,123.72             $ 50,653.89

  24   Exemption      2738 Navajo St.
                      Ventura, CA. 93001
  25

  26
       Date: February 4, 2020                                    /s/ DAVID SEROR
  27                                                             Chapter 7 Trustee

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